Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 1 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 2 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 3 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 4 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 5 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 6 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 7 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 8 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 9 of 10
Case 18-30913   Doc 30   Filed 10/18/18 Entered 10/18/18 13:13:39   Desc Main
                          Document     Page 10 of 10
